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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :
         v.                                 :        Case No. 1:23-cr-234 (JEB)
                                            :
BIAO QU,                                    :
                                            :
                      Defendant.            :


     MOTION TO DISMISS COUNT TWO OF THE SUPERSEDING INDICTMENT


       The United States of America, by and through undersigned counsel, respectfully moves

this Court, pursuant to Federal Rule of Criminal Procedure 48(a), to dismiss Count Two of the

Superseding Indictment (ECF No. 25), charging the defendant with Obstruction of an Official

Proceeding and Aiding and Abetting, in violation of 18 U.S.C. § 1512(c)(2) and 2.           The

government makes this motion in the interest of justice and in order to clarify and simplify the

issues to be resolved at the defendant’s trial, which is scheduled for March 31, 2025. See

12/09/2024 Minute Order.

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       Dismissal of Count Two does not require a continuance of the trial date. With almost one

month to the motions deadline and nearly three months to trial, the parties should have sufficient

time to prepare their trial arguments and evidence. Indeed, the arguments at trial will only be

simplified without Count Two. The nature of the conduct has not changed, and the relevant

evidence at trial remains fundamentally the same. In the interests of justice, to bring finality to a

case that has been pending since June 2023, the government submits that the trial should proceed

as scheduled on March 31, 2025.

                                                      Respectfully submitted,

                                                      MATTHEW M. GRAVES
                                                      United States Attorney
                                                      D.C. Bar No. 481052

                                              By:     /s/ Alexandra F. Foster
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